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JTW: 06.13.22
PCM: USAO 2022R00304

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

USDC- BALTIMORE
999 JUN 15 rex LENETED STATES OF AMERICA

CRIMINAL root 2Z0 y Lo (

(Interference with Commerce by
Extortion, 18 U.S.C. § 1951(a);
Conspiracy to Possess with the Intent
to Distribute a Controlled Substance,
21 U.S.C. § 841(a); Use of a Firearm
Resulting in Death During and in
Relation to a Drug Trafficking Crime,
18 U.S.C, § § 924(c) and (j); Aiding
and Abetting, 18 U.S.C. § 2;
Forfeiture, 18 U.S.C. § 924(d), 28
U.S.C. § 2461(c), 21 U.S.C. § 853)

Vv.

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ZIYON THOMPSON,

Defendant

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INDICTMENT ~

COUNT ONE.
(Interference with Commerce by Extortion)

The Grand Jury for the District of Maryland charges that:
On or about May 8, 2022, in the District of Maryland, the defendant,
ZIYON THOMPSON,
did knowingly attempt to obstruct, delay, and affect commerce and the movement of articles and
commodities in commerce by extortion, as those terms are defined in Title 18, United States Code,
Section 1951, that is, the defendant attempted to obtain the property of Miguel Soto-Diaz, with his
consent induced by the wrongful use of force, violence, and fear.

18 U.S.C. § 1951 (a)
18 U.S.C. §2
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COUNT TWO .
(Conspiracy to Possess with the Intent to Distribute a Controlled Substance)

The Grand Jury for the District of Maryland further charges that:
On or around March 2022 through May 2022, in the District of Maryland, the defendant,
ZIYON THOMPSON,
did knowingly combine, conspire, confederate, and agree with persons known and unknown to the
Grand Jury to distribute and possess with the intent to distribute a mixture and substance containing

a detectable amount of marijuana, a Schedule I controlled substance, in violation of 21 U.S.C.

§ 841,

21 U.S.C. § 846
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COUNT THREE
(Use of a Firearm Resulting in Death During and in Relation to a Drug Trafficking Crime)

The Grand Jury for the District of Maryland further charges that:
On or about May 8, 2022, in the District of Maryland,
ZIYON THOMPSON,

did knowingly use, carry, brandish, and discharge a firearm during and in relation to a drug
trafficking crime for which he may be prosecuted in a court of the United States, namely,
conspiracy to distribute controlled substances, in violation of Title 21 of the United States Code,
Section 846, and during and in relation to that crime did cause the death of a person, Miguel Soto-
Diaz, through the use of a firearm, which killing constituted first degree murder, as defined in Title
18 of the United States Code, Section 1111.

18 U.S.C. § 924(c) and (j)
18 U.S.C. §2
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FORFEITURE

The Grand Jury for the District of Maryland further charges that:

A. Pursuant to Rule 32.2, Fed. R. Crim. P., notice is hereby given to the Defendant
that the United States will seek forfeiture as part of any sentence in accordance with 28 U.S.C.
§ 2461(c) and 18 U.S.C. § 924(d), in the event of the Defendant’s conviction.

2. Pursuant to 18 U.S.C. § 924(¢d), upon conviction of the offense alleged in Count
One, the Defendant shall forfeit to the United States any firearms and ammunition involved in
the offense.

18 U.S.C. § 924(d)
28 U.S.C. § 2461(c)

Erek L. Barron / (WA
United States Attorney

_- A TRUE BILL:

' SIGNATURE REDACTED
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Foreperson — Date

 

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